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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CRIM. NO. 13-001036 SOM
                               )
                Plaintiff,     )          ORDER DENYING MOTION
                               )          REQUESTING REDUCTION OF
           vs.                 )          SENTENCE PURSUANT TO 18 U.S.C.
                               )          § 3582(c)(1)(A)(i)
 MALIA ARCIERO (01),           )
                               )
                DEFENDANT.     )
 _____________________________ )


              ORDER DENYING MOTION REQUESTING REDUCTION OF
           SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

 I.          INTRODUCTION AND BACKGROUND.

             On January 8, 2015, after a six-day jury trial, Malia

 Arciero was convicted of four drug-related crimes.           See Verdict,

 ECF No. 249.     In September 2015, the court sentenced Arciero to

 172 months of imprisonment and 5 years of supervised release for

 each crime, with the terms running concurrently, and a $400

 special assessment.      See Judgment, ECF No. 281.      In sentencing

 Arciero, the court noted that Arciero had maintained over a

 lengthy period and in multiple court filings submitted under

 penalty of perjury that she had been sexually assaulted by the

 federal case agent.      Shortly before her sentencing hearing, she

 stated under penalty of perjury that her accusations against the

 case agent were false.      See Declaration of Malia Arciero, ECF No.

 279-2, PageID # 1865.      She explained that her previous

 accusations that the case agent “raped [her] and forced [her] to
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 give him oral sex” were “not correct and I therefore withdraw

 them.”    Id., PageID # 1868.

             It appears that Arciero has been in custody since May

 23, 2014 (about 7 years), when her pretrial release was revoked,

 meaning that she has served about half of the 172 months.             See

 ECF No. 87.    Arciero, who is 40 years old, is being housed in FCI

 Victorville Medium II in California and has a projected release

 date of August 10, 2026, given anticipated good time credit.             See

 www.bop.gov/inmateloc/ (input Register Number 16101-022) (last

 visited June 9, 2021).

             Arciero has asked this court for compassionate release

 in light of the COVID-19 pandemic a number of times.             The major

 difference between the present request and the previous ones is

 that she has now submitted medical corroboration of various

 conditions claimed earlier.       That medical corroboration does not

 include her latest assertion, which is that she is allegedly

 allergic to the Moderna COVID-19 vaccine that was offered to her.

             When Arciero began her series of motions, she was

 represented by retained counsel.          On June 5, 2020, this court

 denied Arciero’s first compassionate release request, reasoning

 that she had not exhausted her administrative remedies and had

 failed to show extraordinary and compelling circumstances

 justifying her release.      See ECF No. 364.      Her motion argued

 without medical corroboration that she is “borderline diabetic[,


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 and] has chronic sinus issues, wheezing, severe migraines and a

 history of seizures.”      See ECF No. 356-1, PageID # 4605.

 Notwithstanding her representation by counsel, Arciero filed a

 pro se Reply in support of her first motion, expanding her list

 of medical conditions to include chronic bronchitis, coughing, a

 painful lump in her breast, sinusitis, and anemia.           See ECF No.

 361, PageID # 4673.      Even assuming Arciero had the conditions

 identified in her Reply, the court ruled that she had failed to

 provide sufficient information about their severity or the

 efficacy of any treatment she was receiving to establish

 extraordinary and compelling reasons for a reduction of her

 sentence in light of the pandemic.        See ECF No. 364, PageID

 # 4709.

             In its order, the court balanced the factors set forth

 in section 3553(a):

                  The record indicates that Arciero is a
             nonviolent drug offender who has served a
             substantial prison sentence, albeit less than
             half of the sentence imposed. However, she
             was responsible for drug crimes involving
             pounds of “ice” and tried to avoid her
             convictions by manufacturing evidence and
             repeatedly lying to this court. Arciero is
             being housed at a facility with (as of June
             5, 2020) no reported COVID-19 cases (although
             that could admittedly be the result of a lack
             of testing). Critical to this court is
             Arciero’s failure to present a detailed plan
             for herself if she is released early. In her
             motion, she asks to live with her fiancé in
             Atlanta, Georgia. However, after the
             Government pointed out that her fiancé might


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             be a felon, she said in her Reply that she
             could live with Yolanda Hamilton in East
             Point, Georgia. Without any further detail,
             Arciero says that her fiancé has “secured
             post-prison rehabilitation and employment”
             for her. See ECF No. 361, PageID # 4677.
             This court has no information on Ms. Hamilton
             and has to wonder what Mr. Arciero’s real
             plan is.

                  Arciero says that, while incarcerated,
             she has only received one disciplinary
             sanction and has taken advantage of
             opportunities to rehabilitate herself,
             including receiving a horticulture license
             and dog training and nutritionist
             certifications. See ECF No. 361, PageID
             # 4675. Arciero raises these points for the
             first time in her Reply. Even if the court
             considers them, they do not outweigh the
             severity of her crime and her long history of
             manipulation.

 Id., PageID #s 4710-11.

             Recognizing the seriousness of Arciero’s crimes, the

 amount of time remaining on her sentence, her behavior while

 incarcerated, the totality of the medical information she had

 submitted, and her evolving release plan, the court determined

 that Arciero had not shown extraordinary and compelling reasons

 justifying her early release and therefore denied her request for

 compassionate release.      Id., PageID #s 4711-12.

             Thereafter, Arciero, who has never claimed indigency,

 proceeded pro se, and this court noted her apparent preference

 for doing so.     See ECF No. 370.     She sought reconsideration of

 the denial of her request for compassionate release, which this



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 court treated as a new motion for compassionate release.            See ECF

 No. 374, PageID # 4848.      Four circumstances had changed since she

 had filed her original motion.        First, Arciero had submitted a

 request for compassionate release to her warden, and more than 30

 days had passed without a response.        Second, the CDC had updated

 its guidance concerning COVID-19, stating that chronic lung

 diseases, including chronic bronchitis, put a person at increased

 risk of a severe illness from COVID-19.         Third, Arciero had

 submitted evidence that she had been diagnosed with bronchitis in

 2014.   Fourth, there were COVID-19 cases at her prison.           On

 August 12, 2020, this court denied this second compassionate

 release request.     See ECF No. 374.

             In its order denying the second motion, the court ruled

 that Arciero had satisfied the prison exhaustion requirement.

 See id., PageID # 4849.      But the court noted that Arciero had not

 established that she had chronic bronchitis, a condition

 identified by the CDC as raising a person’s risk of a severe case

 of COVID-19.     She had not submitted medical evidence

 corroborating that her several bouts of bronchitis amounted to

 chronic bronchitis.      See id., PageID #s 48450-51.

             The court noted that Arciero was being housed in a

 satellite camp, a place where social distancing was difficult.

 Nevertheless, the court was unpersuaded that the 4 active cases

 of COVID-19 among the inmate population justified her early


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 release.    See id., PageID #s 4853-4.      The court again noted its

 concerns with respect to Arciero’s changing release plan.            See

 id., PageID # 4855.      Balancing all of the circumstances, the

 court determined that Arciero had failed to demonstrate

 extraordinary and compelling reasons warranting her early

 release.    Id.

             Arciero then sought reconsideration of the denial of

 her second request for compassionate release.          In denying the

 reconsideration motion, this court noted that Arciero had failed

 to support her claim of chronic bronchitis with medical records.

 See ECF No. 376, PageID # 4863.        The court further noted that

 Arciero had failed to establish that she had asthma that was

 sufficiently severe to raise her risk of serious complications if

 she contracted COVID-19.       Id., PageID # 4864.

             On September 14, 2020, this court received a letter

 from Arciero indicating that she would be asking the Bureau of

 Prisons for copies of her 757-page medical records, stating, “As

 soon as I get my records, I will be sending all of the relevant

 medical information from it for my compassionate release.”               ECF

 No. 377, PageID # 4865.

             On December 28, 2020, Arciero filed her fourth motion

 pertaining to compassionate release.        See ECF No. 383.      This

 motion still failed to submit medical documentation supporting

 the existence and severity of her claimed medical conditions.               At


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 most, her father sent a letter to the court stating, “Malia has

 had asthma and breathing problems from childhood. . . . She also

 suffers from seizures and other medical problems (nasal

 congestion, migraines, depression).”        ECF No. 385, PageID # 4879.

 A new circumstance for purposes of her fourth motion was that

 Victorville Medium II FCI, where Arciero was being held, had a

 significant COVID-19 problem.       See ECF No. 394, PageID #s 4931-

 32.   Nevertheless, for the reasons stated in the court’s previous

 orders, this court concluded that Arciero had failed to

 established any extraordinary and compelling reason justifying

 compassionate release.      See id., PageID #s 4932, 4936.

             On January 25, 2021, Arciero filed a motion to

 reconsider the denial of her fourth compassionate release motion.

 The reconsideration motion argued that the court had abused its

 discretion by failing to hold an evidentiary hearing and by

 failing to take into account Arciero’s supposed inability to

 receive a COVID-19 vaccine because of an allergic reaction.             See

 ECF No. 395.     On January 26, 2021, this court denied the

 reconsideration motion, stating:

             As detailed in the order of January 15, 2021,
             Arciero failed to demonstrate extraordinary
             and compelling circumstances justifying her
             early release. This court did not need an
             evidentiary hearing to make that
             determination. Arciero cites no law
             requiring an evidentiary hearing and does not
             describe what evidence she planned to offer
             that could not be presented in papers she
             filed. Second, Arciero notes that the CDC

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             advises against receiving the Moderna vaccine
             if one has had an allergic reaction to it or
             to one of its ingredients. Arciero does not
             identify any ingredient in the Moderna
             vaccine to which she has had an allergic
             reaction. Nor does she say that the Moderna
             vaccine is the only option in her facility.
             It is equally unclear that the prison will
             not seek to accommodate those with allergies.
             Even assuming that Arciero is allergic to an
             ingredient in COVID-19 vaccines, she must
             demonstrate extraordinary and compelling
             circumstances justifying her early release.
             The reconsideration motion makes no attempt
             to address the court’s concerns, as detailed
             in the orders denying her multiple motions on
             the matter.

 ECF No. 396.

             On April 16, 2021, Arciero filed her latest

 compassionate release request.        This time, she again asserted

 that she has “allergies that will prevent her from taking COVID

 vaccines.”    ECF No. 408, PageID # 5022.       In a minute order of

 April 19, 2021, this court noted that “Arciero ha[d] previously

 raised a concern about the Moderna vaccine, which, the court

 noted, was not accompanied by explanatory detail.”           See ECF No.

 409.   The minute order asked Arciero to provide specific details

 about her claimed allergy to the Moderna vaccine, including

 whether a health professional had ever told her that she should

 not get such a vaccine, and to state whether she was allergic to

 other COVID-19 vaccines.       Id.

             On May 3, 2021, Arciero responded to the minute order.

 Rather than explaining her claimed allergy, she contended that


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 her “medical conditions[, including] untreated kidney disease,

 Breast cancer and Bronchitis . . . keep her from taking the

 vaccines.”    ECF No. 410, PageID # 5121.       However, Arciero

 provided no authority supporting her contention that those

 medical conditions make it inadvisable to get a COVID-19 vaccine.

 To the contrary, she attached an April 21, 2021, email she sent

 to Dr. Peikar, who is apparently a doctor at her facility, in

 which she asks, “is there anyway that I could maybe get an email

 back from you stating that you do not believe that I would be a

 good candidate and that you do not recommend me to participate in

 the trial vaccine that is being offered here at Victorville Camp

 due to the adverse side reactions that have happened and because

 of my pending medical issues that are still being treated and

 unknown?”    ECF No, 410-1, PageID # 5124.       Arciero did not attach

 any response from the doctor.       Arciero did, however, attach the

 Moderna COVID-19 Fact Sheet, which indicates that a person should

 not get the vaccine if the person has had a severe allergic

 reaction to a previous dose of it or to any ingredient in it.

 See ECF No. 410-3, PageID # 5132.         The Fact Sheet does not state

 that people with certain medical conditions should refrain from

 getting the vaccine.      See id.   At most, it advises a person to

 talk with a vaccination provider if the person has allergies, a

 fever, a bleeding disorder, is on blood thinners, is




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  immunocompromised, is pregnant, is breastfeeding, or has received

  another COVID-19 vaccine.      See id.

             Arciero submits no evidence that she is actually

  allergic to the Moderna COVID-19 vaccine or anything in it.

  Arciero has made untruthful statements to the court in the past,

  which she admitted when she withdrew allegations of sexual

  assault.   See United States v. Arciero, 835 Fed. Appx. 196, 198

  (2020) (rejecting claim of ineffective assistance of counsel

  based on withdrawn sexual assault allegations).          Even after that

  withdrawal, she revived the withdrawn sexual assault allegations!

  See ECF No. 403.     This court is therefore cognizant that

  Arciero’s assertions are best corroborated before being accepted.

             On or about March 12, 2021, Arciero declined an

  opportunity to receive the Moderna COVID-19 vaccine, checking a

  box to indicate that she has never “had a severe allergy or

  anaphylactic reaction to any component of this vaccine or any

  other vaccine/injectable therapy.”        ECF No. 416-3, PageID # 5187.

  Arciero is now contradicting a document she herself signed; she

  now argues that she “has allergies that will prevent her from

  taking the COVID vaccines.”       ECF No. 408, PageID # 5022.       Arciero

  may well think she should not get the vaccine given her medical

  conditions.    She may be correct in thinking that, but that is not

  the same as being allergic to the vaccine, which is what she has

  claimed.   Her decision to decline the Moderna COVID-19 vaccine


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  appears consistent with her refusal to get other vaccines,

  including the influenza vaccine.         See ECF No. 416-1, PageID

  # 5185.

             The Government has confirmed that the Moderna vaccine

  is the only vaccine being offered to inmates at FCI Victorville

  Medium II.    See ECF No. 416, PageID # 5181.       This court, however,

  has adjudicated other compassionate release motions in which

  federal prisoners received the Johnson & Johnson/Jassen and

  Pfizer-BioNTech COVID-19 vaccines.        See United States v.

  Dominguez-Garcia, 2021 WL 2272387, at *1 (D. Haw. June 3, 2021)

  (indicating that the defendant received the Johnson and

  Johnson/Janssen COVID-19 vaccine); United States v. Saelua, 2021

  WL 2229041, at *1 (D. Haw. June 2, 2021) (indicating that the

  defendant received the Pfizer-BioNTech COVID-19 vaccine).            The

  court assumes that each facility offers what is available, and

  that availability may vary by location.        The record does not

  establish whether the Bureau of Prisons has ever made a different

  vaccine available to an inmate who is actually allergic to the

  primary vaccine offered at a facility.

             FCI Victorville Medium II, where Arciero is being

  housed, currently has 1,296 inmates, with 1075 at the FCI and 221

  at the adjacent camp, where Arciero is being housed.

  https://www.bop.gov/locations/institutions/vvm/ (last visited

  June 9, 2021).      While FCI Victorville Medium II at one time had


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  a significant COVID-19 problem, as of the morning of June 9,

  2021, only 1 inmate and 1 staff member have active cases of

  COVID-19, and 461 inmates and 56 staff have recovered from it.

  See https://www.bop.gov/coronavirus/ (last visited June 9, 2021).

  While the court cannot tell how many of these individuals are in

  the FCI and how many are in the camp, these numbers indicate that

  Arciero might become exposed to COVID-19 during her imprisonment.

  FCI Victorville Medium II is part of the Victorville Federal

  Correction Complex, which houses a total of 3818 inmates, of

  which 1980 are fully immunized against COVID-19.          See id.    Of

  course, this court cannot tell from those figures what percentage

  of individuals at FCI Victorville Medium II or its camp have been

  vaccinated.

             Arciero’s latest compassionate release motion adds

  little to the arguments she made in her previous motions, with

  the major difference being medical documentation of chronic

  bronchitis, which appears related to her history of smoking, and

  her claim of allergy.      See ECF No. 408-1, PageID #s 5035-36,

  5045, 5047.    From the height listed in her Presentence

  Investigation Report, ECF No. 283, PageID # 283, and the weight

  listed in her sealed medical records, ECF No. 408-1, PageID

  # 5066, Arciero also has a Body Mass Index (“BMI”) of 26.5.               See

  https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english

  _bmi_calculator/bmi_calculator.html.


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  II.        ANALYSIS.

             Arciero’s compassionate release request is governed by

  18 U.S.C. § 3582(c)(1)(A), which provides:

             [T]he court . . . upon motion of the
             defendant after the defendant has fully
             exhausted all administrative rights to appeal
             a failure of the Bureau of Prisons to bring a
             motion on the defendant’s behalf or the lapse
             of 30 days from the receipt of such a request
             by the warden of the defendant’s facility,
             whichever is earlier, may reduce the term of
             imprisonment (and may impose a term of
             probation or supervised release with or
             without conditions that does not exceed the
             unserved portion of the original term of
             imprisonment), after considering the factors
             set forth in section 3553(a) to the extent
             that they are applicable, if it finds that--

             (i) extraordinary and compelling reasons
             warrant such a reduction . . . .

             and that such a reduction is consistent with
             applicable policy statements issued by the
             Sentencing Commission.

  In other words, for the court to exercise its authority under

  § 3582(c)(1)(A), it must (1) find that the defendant exhausted

  her administrative remedies or that 30 days have passed since she

  filed an administrative compassionate relief request; (2) also

  find, after considering the factors set forth in section 3553(a),

  that extraordinary and compelling reasons warrant a sentence

  reduction; and (3) find that such a reduction is consistent with

  the Sentencing Commission’s policy statements (assuming there are

  any policy statements applicable to this motion).          See United

  States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).

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             A.    Arciero Has Satisfied the Time-lapse Requirement
                   of 18 U.S.C. § 3582(c)(1)(A).

             On January 29, 2021, Arciero submitted an

  administrative compassionate release request to the warden of her

  prison, who denied that request in March 2021.          See ECF No. 408-

  3.   Arciero has therefore satisfied the time-lapse requirement of

  18 U.S.C. § 3582(c)(1)(A).

             B.    This Court Has Discretion in Determining Whether
                   Extraordinary and Compelling Reasons Justify a
                   Reduced Sentence.

             This court turns to § 3582(c)(1)(A)’s second

  requirement: whether extraordinary and compelling reasons warrant

  a sentence reduction.      In orders addressing compassionate release

  motions in other cases, this court has expressly recognized that

  it possesses considerable discretion in determining whether a

  particular defendant has established the existence of

  extraordinary and compelling reasons that justify early release.

             This court has also stated that, in reading

  § 3582(c)(1)(A) as providing for considerable judicial

  discretion, the court is well aware of the absence of an amended

  policy statement from the Sentencing Commission reflecting the

  discretion given to courts when Congress amended the statute to

  allow inmates themselves to file compassionate release motions.

  United States v. Mau, 2020 WL 6153581 (D. Haw. Oct. 20, 2020);

  United States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June 10,



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  2020); United States v. Cisneros, 2020 WL 3065103, at *2 (D. Haw.

  Jun. 9, 2020); United States v. Kamaka, 2020 WL 2820139, at *3

  (D. Haw. May 29, 2020).      Specifically, this court has recognized

  that an Application Note to a relevant sentencing guideline is

  outdated.    This court continues to view its discretion as not

  limited by Sentencing Commission pronouncements that are now at

  odds with the congressional intent behind recent statutory

  amendments.    Mau, 2020 WL 6153581; see also United States v.

  Brooker, 976 F.3d 228, 235-36 (2d Cir. 2020) (“[W]e read the

  Guideline as surviving, but now applying only to those motions

  that the BOP has made.”); cf. United States v. Ruffin, 978 F.3d

  1000, 1007-08 (6th Cir. 2020) (noting that some courts have held

  that the Application Note is not “applicable,” but not deciding

  the issue).

              Recently, the Ninth Circuit has expressly recognized

  that there is no applicable Sentencing Commission policy

  statement governing compassionate release motions filed by

  defendants under § 3582(c)(1)(A).        Nevertheless, while the

  Sentencing Commission’s statements in U.S.S.G § 1B1.13 are not

  applicable policy statements that are binding on this court, they

  may inform this court’s discretion.        See United States v. Aruda,

  993 F.3d 797, 801-02 (9th Cir. 2021) (per curiam).




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             C.    Arciero Has Not Demonstrated That Extraordinary
                   and Compelling Circumstances Justify Her Early
                   Release, or That the Requested Reduction Would Be
                   Consistent with Any Applicable Sentencing
                   Commission Policy Statement.

             Arciero contends that this court should exercise its

  discretion and find that extraordinary and compelling

  circumstances justify her early release.         She relies primarily on

  the risks she faces if she contracts COVID-19.          While the court

  acknowledges the seriousness of her concerns, the COVID-19

  pandemic does not justify early release at this time.

             Evidence submitted by Arciero establishes that she has

  chronic bronchitis possibly caused by her smoking and that she is

  overweight, with a BMI of 26.5.       Under the CDC’s guidance,

  chronic bronchitis and being overweight (a BMI greater than 25)

  “can make you more likely to get severely ill from COVID-19,”

  meaning that Arciero may be more likely to need hospitalization,

  intensive care, a ventilator to help her breathe, or may even die

  from COVID-19.    See

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

  people-with-medical-conditions.html (last visited June 9, 2021).

  Given her chronic bronchitis and weight, in addition to the other

  medical conditions she complains of, this court certainly agrees

  that Arciero has established legitimate concerns about suffering

  severe complications if she contracts COVID-19.          However, her




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  medical conditions, standing alone, are not exceptional and

  compelling reasons that warrant a reduction in sentence.

             Several factors mitigate the risks that Arciero faces.

  First, Arciero is only 40 years old, which does not place her in

  a higher risk category.      Id. (“Older adults are more likely to

  get severely ill from COVID-19.       More than 80% of COVID-19 deaths

  occur in people over age 65, and more than 95% of COVID-19 deaths

  occur in people older than 45.”).

             Second, while the decision to receive or refuse a

  COVID-19 vaccination is up to Arciero, she does not establish

  that the vaccine is medically contraindicated for her.            The

  Moderna vaccine has indisputably been offered to her.            See United

  States v. Richmond, 2021 WL 2337626, at *6 (E.D. Cal. June 8,

  2021) (“in cases where an inmate cites the risk of contracting

  COVID-19 as a basis for relief but refuses to receive a vaccine,

  courts have nearly uniformly denied compassionate release because

  such refusal udercuts an inmate’s fear of infection.” (brackets,

  quotation marks, and citation omitted)); United States v.

  Baeza-Vargas, 2021 WL 1250349, at *3 (D. Ariz. Apr. 5, 2021)

  (“Judges of this Court, as well as others around the country,

  have ruled with consistency that an inmate’s denial of a COVID-19

  vaccination weighs against a finding of extraordinary and

  compelling circumstances.”).




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             According to the CDC, “[a]ll COVID-19 vaccines

  currently available in the United States are effective at

  preventing COVID-19 as seen in clinical trial settings.”

  https://www.cdc.gov/coronavirus/2019-ncov/vaccines/effectiveness.

  html?s_cid=10464:vaccine%20effectiveness:sem.ga:p:RG:GM:gen:PTN:F

  Y21 (last visited June 9, 2021).         The CDC also notes, “Clinical

  trial data demonstrated vaccine efficacy was 94.1% against

  symptomatic, laboratory-confirmed COVID-19 following receipt of 2

  doses of Moderna COVID-19 Vaccine.”

  https://www.cdc.gov/vaccines/covid-19/info-by-product/moderna/mod

  erna-faqs.html (last visited June 9, 2021).

             While Arciero now claims to be allergic to the Moderna

  vaccine, she previously indicated that she has never “had a

  severe allergy or anaphylactic reaction to any component of this

  vaccine or any other vaccine/injectable therapy.”          ECF No. 416-3,

  PageID # 5187.    Her email of April 21, 2021, to Dr. Peikar asks

  whether “I could maybe get an email back from you stating that

  you do not believe that I would be a good candidate and that you

  do not recommend me to participate in the trial vaccine that is

  being offered here at Victorville Camp due to the adverse side

  reactions that have happened and because of my pending medical

  issues that are still being treated and unknown?”          ECF No, 410-1,

  PageID # 5124.    It appears that Arciero is afraid of vaccine side

  effects that “have happened” to others.        This generalized fear of


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  side effects is not the same as an actual allergy or a medical

  contraindication.

             The court stresses that it is by no means suggesting

  that Arciero should or must get vaccinated.         This court is in no

  position to advise Arciero as to any health-related concern.             The

  court is instead commenting on Arciero’s failure to establish

  that she has the allergy she has claimed to have, or to provide

  some evidence that her medical conditions make it inadvisable to

  get vaccinated.     The court recognizes that Arciero may indeed by

  justified in declining the vaccine.        But she has not to date

  provided that justification to this court.

             Moreover, as of the morning of June 9, 2021,

  Victorville Medium II has only 1 active case of COVID-19 in its

  inmate population and only 1 active case of COVID-19 among staff

  members (who is presumably staying home if actively infected).

  Victorville Medium II has had 461 inmates and 56 staff members

  recover from COVID-19.      Those numbers demonstrate that it at one

  time had a significant COVID-19 problem.         Its COVID-19 problem

  has been reduced but certainly not eliminated.          Nevertheless, the

  low number of current COVID-19 cases does not currently place

  Arciero at great risk of exposure to COVID-19.

             In evaluating whether early release is justified, this

  court also must consider the factors set forth in § 3553(a), one

  of which is particularly relevant.        Arciero has only served about


                                      19
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  half of her sentence and does not establish that this would be

  appropriate punishment for her crimes.        She had a guideline

  enhancement for obstruction based on her repeated lies to the

  court, and her conviction involved pounds of “ice.”          Moreover, as

  noted earlier, this court has expressed concerned about her

  uncertain release plan.      See United States v. Arciero, 2020 WL

  4678405, at *4 (D. Haw. Aug. 12, 2020) (describing Arciero’s

  changing release plan).      While Arciero does not have a history of

  violence, has taken advantage of educational opportunities while

  in prison, see ECF No. 408-2, and appears to have only one prison

  infraction, see ECF No. 361, PageID # 4675, those facts do not

  outweigh the severity of her crime and the history she presents

  to the court.    For the reasons stated in the court’s previous

  denials of her requests for compassionate release, the balancing

  of § 3553 factors does not favor Arciero’s release.

             This court has considered the seriousness and

  circumstances of Arciero’s crimes, the amount of time remaining

  on her sentence, her behavior while incarcerated, the totality of

  the medical information she has submitted, and the questions

  raised by her evolving release plan.        This court determines that,

  once again, Arciero has failed to show extraordinary and

  compelling reasons for early release, or that early release would

  be consistent with any applicable Sentencing Commission policy

  statement.


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  II.          CONCLUSION.

               Arciero’s latest motion for compassionate release is

  denied.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, June 9, 2021.




                                   /s/ Susan Oki Mollway

                                   Susan Oki Mollway
                                   United States District Judge




  United States v. Arciero, CRIM. NO. 13-001036 SOM; ORDER DENYING MOTION REQUESTING
  REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)




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